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                 EXHIBIT B
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U NI T E D S T A T E S D I S T RI C T C                     O U RT
S O U T H E R N D I S T RI C T O F N E                       W Y O R K

MI C H A E L K O R S, L. L. C., a D el a w ar e                                          Ci vil A cti o n N o. 1: 1 8- c v- 0 2 6 8 4
Li mit e d Li a bilit y C or p or ati o n,

                                                     Pl ai ntiff
         - vs-

S U Y A N Y E, a n i n di vi d u al; a n d D O E S
1- 1 0, i n cl usi v e,


                                       D ef e n d a nts.

  P L AI N TI F F ’S R E S P O N S E S T O D E F E N D A N T S U Y A N Y E ’S FI R S T S E T
             O F R E Q U E S T S F O R P R O D U C TI O N O F D O C U M E N T S
P R O P O U N DI N G P A R T Y:                                 D ef e n d a nt S U Y A N Y E
R E S P O N DI N G P A R T Y:                                   Pl ai ntiff MI C H A E L K O R S, L. L. C.
S E T N O.:                                                     O N E
T O A L L P A R TI E S A N D T H EI R A T T O R N E Y S O F R E C O R D:
         Pl ai ntiff Mi c h a el K or s, L. L. C. ( “ Pl ai ntiff ”) h er e b y r es p o n ds t o t h e R e q u ests
pr o p o u n d e d b y D e f e n d a nt S u Y a n Y e ( “ D ef e n d a nt ”) as f oll o ws:
                                                          G E N E R A L O B J E C TI O N S
         Pl ai ntiff m a k es t h e f oll o wi n g G e n er al O bj e cti o ns t o D ef e n d a nt’s R e q u est f or
Pr o d u cti o ns of D o c u m e nts. T h e ass erti o n of t h e s a m e or a d diti o n al o bj e cti o ns i n
a n y p arti c ul ar re s p o ns e t o D ef e n d a nt’s R e q u est d o es n o t w ai v e its G e n er al
O bj e cti o ns, s et fort h b el o w, t h at ar e n ot s p e cifi c all y r e p e at e d i n t h at r es p o ns e.
E a c h of th e ref er e n c e d r es p o ns es is m a d e s ol el y f or t h e p ur p os e of t his a cti o n.
E a c h r es p o ns e is su bj e ct t o all o bj e cti o ns as t o c o m p et e n c e, r el e v a n c e, m at eri alit y,
pr o pri et y a n d a d missi bilit y, all of w hi c h o bj e cti o ns a n d gr o u n ds ar e r es er v e d a n d
m a y b e int er p os e d a t t h e ti m e of tri al. T h e r es p o n di n g p art y r es er v es t h e ri g ht t o


                                                                                    1
        PL   AI N TI F F ’ S   R   ESP O NS ES T O    D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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m a k e c h a n g es t o t h es e r es p o ns es if it a p p e ars t h at o missi o ns or err ors h a v e b e e n
m a d e h er ei n, fur t h er or m or e a c c ur at e i nf or m ati o n b e c o m es a v ail a bl e. Dis c o v er y
a n d i n v esti g ati o ns a re o n g oi n g. N o i n ci d e nt al or i m pli e d o missi o n is i nt e n d e d
h er ei n. T h e fa ct t h at t h e res p o n di n g p art y h as r es p o n d e d t o all or a n y p art of a
r e q u est is n ot int e n d e d a n d s h all n ot b e c o nstr u e d t o b e a w ai v er b y t h e r es p o n di n g
p art y of a ll or a n y p art of t h e o bj e cti o n t o s u c h r e q u est.
          Pl ai ntiff o bj e cts t o e a c h o f D ef e n d a nt’s d efi niti o ns a n d R e q u ests t o t h e
e xt e nt t h e y c a ll f or i nf or m ati o n pr ot e ct e d fr o m dis cl os ur e b y t h e att or n e y- cli e nt
pri vil e g e.
          Pl ai ntiff o bj e cts t o e a c h o f D ef e n d a nt’s d efi niti o ns a n d R e q u ests t o t h e
e xt e nt t h e y c a ll f or i nf or m ati o n pr ot e ct e d fr o m dis cl os ur e b y t h e w or k- pr o d u ct
d o c tri n e. M or e o v er, a n y i n a d v ert e nt dis cl o s ur e of s u c h i nf or m ati o n s h all n ot b e
d e e m e d as a w a i v er of t h e d o ctri n e.
          Pl ai ntiff o bj e cts t o e a c h o f D ef e n d a nt’s d efi niti o ns a n d R e q u ests t o t h e
e xt e nt t h e y c a ll f or t h e pr o d u cti o n of i nf or m ati o n pr ot e ct e d fro m dis cl os ur e b y t h e
ri g ht t o pr i v a c y. M or e o v er, a n y i n a d v ert e nt dis cl os ur e of s u c h i nf or m ati o n s h all
n ot b e d e e m e d a s a w ai v er of t h e ri g ht t o pri v a c y.
          Pl ai ntiff o bj e cts t o e a c h o f D ef e n d a nt’s R e q u ests t o t he e xt e nt it c alls f or
i nf or m ati o n w hi c h D ef e n d a nt’s m a y a s c ert ai n w it h t h e e x er cis e of r e as o n a bl e
dili g e n c e, a n d to th e e xt e nt e a c h of D ef e n d a nt’s R e q u ests is o v er br o a d, v a g u e,
a m bi g u o us, u n d ul y b ur d e ns o m e a n d o p pr es si v e, a n d att e m pts t o e x p a n d Pl ai ntiff’ s
o bli g ati o ns b e y o n d t h os e s et f ort h i n t h e F e d er al R ul es of Ci vil Pr o c e d ur e.
          T h e a bs e n c e o f a n o bj e cti o n t h at a R e q u est is irr el e v a nt is n ot i nt e n d e d t o b e
a w ai v er o f th at o bj e cti o n a n d Pl ai ntiff r es er v es t h e ri g ht t o o bj e ct o n r el e v a n c y
gr o u n ds at a n y st a g e of t h es e pr o c e e di n gs.
          T h e f or e g oi n g o bj e cti o ns ar e i n c or p or at e d i nt o all r es p o ns es s et f ort h b el o w.


                                                                                   2
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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                                              R E Q U E S T S F O R P R O D U C TI O N
R E Q U E S T N O. 1:
         All d o c u m e nts re li e d u p o n or i d e ntifi e d b y Pl ai ntiff i n r es p o n di n g t o a n y
i nt err o g at or y or re q u est f or a d missi o n i n t his a cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t he e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: S u bj e ct t o its o bj e cti o ns t o
D ef e n d a nt’s S p e c i al I nt err o g at ori es a n d R e q u ests f or A d missi o n, Mi c h a el K ors
will pr o d u c e n o n- pri vil e g e d d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol
t h at ar e res p o nsi v e to t his R e q u est.
R E Q U E S T N O . 2:
         All d o c u m e nts id e ntifi e d b y Pl ai ntiff i n its I niti al Dis cl os ur es.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2:
             Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o n a n d t o th e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O . 3:
         D o c u m e nts s uffi ci e nt t o s h o w Pl ai ntiff’s p ol i c y a n d pr o c e d ur es f or r e c or d
m a n a g e m e nt, d o c u m e nt r et e nti o n a n d d o c u m e nt d estr u cti o n.
                                                                                   3
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is v a g u e a n d a m bi g u o us. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt
a n d/ or w or k p ro d u ct pri vil e g e.
R E Q U E S T N O . 4:
             All d o c u m e nts c o n c er ni n g D ef e n d a nt.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i mp os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it is v a g u e a n d a m bi g u o us.
M i c h a el K ors fur t h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
pr ot e ct e d b y th e att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds a s f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O . 5:
         All d o c u m e nts c o n c er ni n g a n y c o m m u ni c ati o n b et w e e n Pl ai ntiff a n d a n y
t hir d p art y re g ar di n g D ef e n d a nt or t his a cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O . 5:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
                                                                                   4
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O . 6:
         All or g a ni z ati o n al c h arts r efl e cti n g Pl ai ntiff’s c or p or at e str u ct ur e, affili at e d
c o m p a ni es a n d m a n a g e m e nt hi er ar c h y.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 6:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is v a g u e a n d a m bi g u o us.
R E Q U E S T N O . 7:
         All d o c u m e nts c o n c er ni n g Pl ai ntiff’s pr e-s uit i n v esti g ati o n of infri n g e m e nt
of t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess all e g e d i n t h e
a cti o n, i n cl u di n g w it h o ut li mit ati o n of D ef e n d a nt a n d t h e A c c us e d Pr o d u cts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 7:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o this R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
                                                                                   5
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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n o n- pri vil e g e d d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O. 8:
         All d o c u m e nts c o n c er ni n g Pl ai ntiff’s e arli e st k n o wl e d g e of D ef e n d a nt’s
Tr a d e M ar k a n d th e sal e or i nt e n d e d s al e of t h e A c c us e d Pr o d u cts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 8:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est to t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O . 9:
         All d o c u m e nts c o n c er ni n g a n y i nfri n g e m e nt a n al ysis, r e p ort, e v al u ati o n,
o pi ni o n, a n al ys es, stu di es, i ns p e cti o n or i n v esti g ati o n pr e p ar e d b y Pl ai ntiff or o n its
b e h alf c o n c er ni n g D e f e n d a nt or t h e A c c us e d Pr o d u cts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 9:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t hat
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e. Mi c h a el K ors f urt h er
                                                                                   6
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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o bj e cts t o t his R e q u est t o t h e e xt e nt it i m p o s es b ur d e ns a n d/ or r ul es b e y o n d
t h os e s et b y th e F e d er al R ul es of Ci vil Pr o c e d ur e, L o c al R ul es, a n d/ or
S c h e d uli n g Or d e r of t his a cti o n.
R E Q U E S T N O . 1 0:
          All d o c u m e nts c o n c er ni n g t h e i nfri n g e m e nt of t h e M K C o m m o n L a w
Tr a d e m ar k or th e M K Tr a d e Dr ess, as all e g e d i n t h e C o m pl ai nt.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 0:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o b je cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
r es p o nsi v e t o thi s R e q u est.
R E Q U E S T N O .11:
          D o c u m e nts s uffi ci e nt t o i d e ntif y t h e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 1:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o th e e xt e nt it is v a g u e a n d
a m bi g u o us.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e r es p o nsi v e t o this
R e q u est.


                                                                                   7
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E Q U E S T N O. 1 2:
         All b usi n ess pl a ns, str at e gi c pl a ns or m ar k et a n al ys es c o n c er ni n g Pl ai ntiff,
t h e M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 2:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt “ b usi n ess pl a ns ” is v a g u e a n d a m bi g u o us. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls
f or t h e pr o d u cti o n o f d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w o r k
pr o d u ct pri vil e g e.
R E Q U E S T N O .13:
         All d o c u m e nts c o n c er ni n g a n y tr a d e m ar k s e ar c h es, i n v esti g ati o ns, a n al ys es,
st u di es or o p ini o n l ett ers c o n d u ct e d or r e vi e w e d b y or o n b e h alf of Pl ai ntiff
c o n c er ni n g t h e M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 3:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t he e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e pr o d u cti o n of
d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
R E Q U E S T N O .14:
         All d o c u m e nts c o n c er ni n g t he c o n c e pti o n, s el e cti o n, cr e ati o n, d esi g n a n d
a d o pti o n of e a c h of t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess.


                                                                                   8
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 4:
             Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors fur t h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w or k pr o d u ct
pri vil e g e.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns, a n d t o t h e e xt e nt it
u n d erst a n ds t his R e q u est, Mi c h a el K ors r es p o n ds as f oll o ws: Mi c h a el K or s will
pr o d u c e n o n- p ri vil e g e d d o c u m e nts s uffi ci e nt t o s h o w t h at Mi c h a el K ors cr e at e d
a n d o w ns th e M K C o m m o n L a w Tr a d e m ar k a n d M K Tr a d e Dr ess a n d w h e n
s ai d i nt ell e ct u al p ro p ert y w as cr e at e d.
R E Q U E S T N O . 1 5:
          S p e ci m e ns of e a c h pr o d u ct s ol d or li c e ns e d b y P l ai ntiff b e ari n g t h e M K
C o m m o n L a w T ra d e m ar k a n d t h e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 5:
             Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors h a s s ol d t h o us a n ds of pr o d u cts t h at b e ar t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns, a n d t o t h e e xt e nt it
u n d erst a n ds t his R e q u est, Mi c h a el K ors r es p o n ds as f oll o ws: At a m ut u all y
a gr e e a bl e ti m e a n d pl a c e, Mi c h a el K ors will m a k e a v ail a bl e f or i ns p e cti o n a
s el e cti o n a ut h e nti c Mi c h a el K o rs ® pr o d u ct s b e ari n g t h e M K C o m m o n L a w
                                                                                   9
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN       Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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Tr a d e m ar k a n d t h e M K Tr a d e Dr ess. S ai d s el e cti o n will b e s uffi ci e nt t o s h o w
t h e pr o d u cts u p o n w hi c h s ai d i nt ell e ct u al pr o p ert y a p p e ars a n d t h e o v er all l o o k
a n d f e el o f th e M K Tr a d e Dr ess.
R E Q U E S T N O . 1 6:
         S p e ci m e ns of p a c k a gi n g f or e a c h pr o d u ct s ol d or li c e ns e d b y Pl ai ntiff
b e ari n g t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess a n d d o c u m e nts
s uffi ci e nt t o id e ntif y t h e p eri o ds of ti m e d uri n g w hi c h s u c h p a c k a gi n g w as i n us e.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 6 :
             Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors h a s s ol d t h o us a n ds of pr o d u cts t h at b e ar t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess.
R E Q U E S T N O .17:
         D o c u m e nts s uffi ci e nt t o i d e ntif y ( a) t h e d at e of first us e of t h e M K
C o m m o n L a w T ra d e m ar k a n d t h e M K Tr a d e Dr ess; ( b) t h e g e o gr a p hi c s c o p e of
us e of th e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess; ( c) a n y a n d
all r et ail c ust o m ers, di stri b ut ors or ot h er s ell ers t o w hi c h g o o ds b e ari n g t h e M K
C o m m o n L a w T ra d e m ar k a n d t h e M K Tr a d e D r ess h a v e b e e n s ol d; ( d) t h e
pr o d u cts or se r vi c es off er e d or s ol d u n d er t h e M K C o m m o n L a w Tr a d e m ar k
a n d t h e M K T r a d e Dr ess; a n d ( e) t h e a m o u nt of Pl ai ntiff’s a n n u al s al es of e a c h
pr o d u ct (i n d o ll ars a n d u nits) b e ari n g t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e
M K Tr a d e D ress f or e a c h y e ar si n c e t h eir i ntr o d u cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 7:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es a n d i m p os es a b ur d e n t h at
                                                                               10
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors h a s s ol d t h o us a n ds of pr o d u cts t h at b e ar t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess. Mi c h a el K ors o bj e cts t o t his R e q u est t o
t h e e xt e nt it c alls f or i nf or m ati o n a n d/ or d o c u m e nts t h at is p u bli cl y a v ail a bl e
a n d c a n b e o bt a i n e d b y D ef e n d a nt wit h t h e e x er cis e of r e as o n a bl e dili g e n c e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
this R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y or c o ntr ol s uffi ci e nt t o
i d e ntif y ( a) t h e d a t e of first us e of t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e
M K Tr a d e Dr e ss; ( b) t h e g e o gr a p hi c s c o p e of us e of t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess; ( c) c ust o m ers t o w h o m Mi c h a el K ors h as
s ol d g o o ds b e a ri n g t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess;
( d) t h e pr o d u cts a n d s er vi c es off er e d or s ol d u n d er t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess; a n d ( e) Mi c h a el K ors r e v e n u es ass o ci at e d
wit h t h e sal e o f g o o ds b e ari n g t h e M K Tr a d e Dr ess o v er t h e l ast si x y e ars.
R E Q U E S T N O .18:
             D o c u m e nts s uffi ci e nt t o i d e ntif y t h e a n n u al a m o u nt of Pl ai ntiff’s
a d v ertisi n g a n d pr o m oti o n al e x p e n dit ur es f or e a c h pr o d u ct b e ati n g or s ol d i n
c o n n e cti o n wi th t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess f or
e a c h y e ar si n c e th eir i ntr o d u cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O . 1 8:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es. Mi c h a el K ors f urt h er o bj e cts t o
t his R e q u est to th e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e
o p pr essi v e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
                                                                               11
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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t his R e q u est, Mi c h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors d o es n ot
m ai nt ai n i nf or m ati o n in th e w a y r e q u est e d. H o w e v er, Mi c h a el K ors will
pr o d u c e d o c u m e nts s uf fi ci e nt t o i d e ntif y its a d v ertisi n g e x p e n dit ur es o v er t h e
l ast si x y e ars.
R E Q U E S T N O .19:
                All d o c u m e nts c o n c er ni n g e a c h tr a d e s h o w, c o n v e nti o n, e x p ositi o n or
c o nf er e n c e at w hi c h t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess
h a v e b e e n d is pl a y e d, a d v ertis e d, pr o m ot e d or off er e d f or s al e i n t h e U nit e d
St at es or in c o m m er c e wit h t h e U nit e d St at es.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 1 9:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es. Mi c h a el K ors f urt h er o bj e cts t o
t his R e q u est to th e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e
o p pr essi v e. Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt t h at, as writt e n, it
is v a g u e, a m bi g u o us, a n d i nt elli gi bl e. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts i n its p os s essi o n, c ust o d y, or c o ntr ol t h at ar e
s uffi ci e nt t o id e ntif y t h e tr a d e s h o ws, c o n v e nti o ns a n d/ or c o nf er e n c es at w hi c h
Mi c h a el K ors d is pl a y e d a n d/ or pr o m ot e d pr o d u cts b e ari n g t h e M K Tr a d e Dr ess
o v er t h e last s i x y e ars.
R E Q U E S T N O . 2 0:
                All d o c u m e nts c o n c er ni n g Pl ai ntiff’s gr a nt or r e c ei pt of a ut h ori z ati o n
or li c e ns e to u s e ( or pr o p os e d a ut h ori z ati o n or li c e ns e t o us e) t h e M K C o m m o n
L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess i n t h e U nit e d St at es or i n c o m m er c e
                                                                               12
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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wit h t h e U nit e d St at es t o a n y t hir d p art y, i n cl u di n g, b ut n ot limit e d t o, all li c e ns e
a gr e e m e nts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 0:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el e v a nt to a n y p art y’s cl ai ms or d ef e ns es. Mi c h a el K ors f urt h er o bj e cts t o
t his R e q u est to th e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e
o p pr essi v e. Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt t h at, as writt e n, it
is v a g u e a n d a m bi g u o us. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e
e xt e nt it c alls for t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt
a n d/ or w or k p ro d u ct pri vil e g e.
R E Q U E S T N O . 2 1:
                 All d o c u m e nts c o n c er ni n g a n y cl ai ms, c o nfli cts, o bj e cti o ns, c e as e a n d
d esist or ot h er d e m a n ds, liti g ati o ns, tr a d e m ar k o p p ositi o ns or c a n c ell ati o n
pr o c e e di n gs, ar b itr ati o ns, a d mi nistr ati v e pr o c e e di n gs or ot h er dis p ut es of a n y
ki n d c o n c er ni n g re gistr ati o n or us e of t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e
M K Tr a d e D ress, i n cl u di n g wit h o ut li mit ati o n a n y dis p ut e wit h or c o n c er ni n g
M ar y K a y or its tr a d e m ar ks.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 1:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
it c alls for d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w or k pr o d u ct
pri vil e g e.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: T h e n o n- pri vil e g e d d o c u m e nts
                                                                               13
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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t h at ar e r es p o nsi v e t o t his R e q u est c a n b e f o u n d o n t h e U S P T O w e bsit e at
w w w. us pt o. g o v.
R E Q U E S T N O . 2 2:
          All d o c u m e nts c o n c er ni n g e nf or c e m e nt of t h e M K C o m m o n L a w Tr a d e m ar k
a n d t h e M K T r a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 2:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
it c alls for d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w or k pr o d u ct
pri vil e g e.
R E Q U E S T N O . 2 3:
          All d o c u m e nts c o n c er ni n g a n y m ar k et r es e ar c h, f o c us gr o u ps, s ur v e ys or
ot h er i n v esti g ati o n m a d e or c o m missi o n e d b y or o n b e h alf of Pl ai ntiff c o n c er ni n g
D ef e n d a nt’s Tr a d e m ar k or t h e A c c us e d Pr o d u cts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 3:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w or k pr o d u ct pr i vil e g e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it i m p o s es b ur d e ns a n d/ or r ul es b e y o n d
t h os e s et b y th e F e d er al R ul es of Ci vil Pr o c e d ur e, L o c al R ul es, a n d/ or
S c h e d uli n g Or d e r of t his a cti o n.
                                                                               14
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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          Wit h o ut w ai vi n g t h e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Aft er a dili g e nt s e ar c h a n d a
r e as o n a bl e i n q uir y, M ic h a el K ors d o es n ot h a v e a n y n o n- pri vil e g e d r es p o nsi v e
d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol b e c a us e s u c h d o c u m e nt ati o n
d o e s n ot e xist. D is c o v er y is o n g oi n g a n d Mi c h a el K ors r es er v es t h e ri g ht t o
s u p pl e m e nt a n d/ or a m e n d t his r es p o ns e as a d diti o n al i nf or m ati o n b e c o m es
a v ail a bl e.
R E Q U E S T N O . 2 4:
          All d o c u m e nts c o n c er ni n g a n y m ar k et r es e ar c h, f o c us gr o u ps, s ur v e ys or
ot h er i n v esti g ati o n m a d e or c o m missi o n e d b y or o n b e h alf of Pl ai ntiff c o n c er ni n g
t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 4:
          Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e c ts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
          Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Aft er a dili g e nt se ar c h a n d a
r e as o n a bl e i n q uir y, M ic h a el K ors d o es n ot h a v e a n y n o n- pri vil e g e d r es p o nsi v e
d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol b e c a us e s u c h d o c u m e nt ati o n
d o es n ot e xist. D is c o v er y is o n g oi n g a n d Mi c h a el K ors r es er v es t h e ri g ht t o
s u p pl e m e nt a n d/ or a m e n d this r es p o ns e as a d diti o n al i nf or m ati o n b e c o m es
a v ail a bl e.
R E Q U E S T N O . 2 5:
          All d o c u m e nts c o n c er ni n g t h e a ct u al or i nt e n d e d c h a n n els of tr a d e f or g o o ds
                                                                               15
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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s ol d or i nt e n d e d t o b e s ol d i n c o n n e cti o n wit h t h e M K C o m m o n L a w Tr a d e m ar k
a n d t h e M K T r a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 5:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns, a n d t o t h e e xt e nt it
u n d erst a n ds t his R e q u est, Mi c h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will
pr o d u c e n o n- p ri vil e g e d d o c u m e nts s uffi ci e nt t o i d e ntif y t h e tr a d e c h a n n els of
t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess.
R E Q U E S T N O . 2 6:
         All d o c u m e nts c o n c er ni n g t h e d e m o gr a p hi c s of t h e c ust o m ers f or g o o ds s ol d
or i nt e n d e d to b e sol d i n c o n n e cti o n wit h t h e M K C o m m o n L a w Tr a d e m ar k a n d
t h e M K T r a d e D r ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 6:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o th e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns, a n d t o t h e e xt e nt it
u n d erst a n ds t his R e q u est, Mi c h a el K ors r es p o n ds a s f oll o ws: Mi c h a el K ors wi ll
pr o d u c e n o n- p ri vil e g e d d o c u m e nts s uffi ci e nt t o i d e ntif y c ust o m er d e m o gr a p hi cs
                                                                               16
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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r el at e d t o t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e Dr ess.
R E Q U E S T N O . 2 7:
         All d o c u m e nts c o n c er ni n g t h e a d v ertisi n g, m ar k eti n g or pr o m oti o n o f g o o ds
s ol d or i nt e n d e d to b e sol d i n c o n n e cti o n wit h t h e M K C o m m o n L a w Tr a d e m ar k
a n d t h e M K T r a d e Dr ess i n t h e U nit e d St at es or U. S. c o m m er c e, i n cl u di n g b ut n ot
li mit e d t o, sa m pl es of e a c h a d v ertis e m e nt or pr o m oti o n al pi e c e, a n y m e di a pl a ns,
p u bli c r el ati o ns m a t eri als, pr ess kits, c orr es p o n d e n c e wit h a d v ertisi n g a g e n ci es,
p u bli c r el ati o ns fir ms, m e di a pl a n n ers, gr a p hi c d esi g n ers, w e bs it e d esi g n ers or a n y
ot h er s u c h e ntiti es in t h e a d v ertisi n g a n d pr o m oti o n al fi el d a n d d o c u m e nts
s uffi ci e nt t o s h o w th e a d v ertisi n g a n d pr o m oti o n al c h a n n els us e d t o a d v ertis e or
pr o m ot e g o o ds sol d or i nt e n d e d t o b e s ol d i n c o n n e cti o n wit h t h e M K C o m m o n
L a w Tr a d e m ar k a n d t h e M K T r a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 7:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as foll o ws: T o t h e e xt e nt it h as n ot alr e a d y
d o n e s o, M i c h a el K ors will pr o d u c e n o n- pri vil e g e d d o c u m e nts i n its p oss essi o n,
c ust o d y, or c o ntr ol s uffi ci e nt t o i d e ntif y t h e a d v ertisi n g c h a n n els of t h e M K
C o m m o n L a w T ra d e m ar k a n d t h e M K Tr a d e Dr ess.
R E Q U E S T N O .28:
         All d o c u m e nts c o n c er ni n g a n y a gr e e m e nts t o w hi c h Pl ai ntiff is a p art y
c o n c er ni n g t h e us e or re gistr ati o n o f t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e
                                                                               17
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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M K Tr a d e Dr ess, i n cl u di n g, b ut n ot li mit e d to, c o- e xist e n c e a gr e e m e nts a n d
s ettl e m e nt a gr e e m e nts.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 8:
           Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it c alls f or t h e pr o d u cti o n of a gr e e m e nts t h at
ar e s u bj e ct to c o nfi d e nti alit y pr o visi o ns.
R E Q U E S T N O . 2 9:
           All d o c u m e nts c o n c er ni n g a n y c o m m u ni c ati o ns b et w e e n Pl ai ntiff a n d a n y
t hir d p art y, i n cl u di n g w it h o ut li mit ati o n r et ail ers, w h ol es al ers, i m p ort ers, e x p ort ers
a n d distri b ut ors, c o n c er ni n g t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e
Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 2 9:
           Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el ate d to a n y p a rt y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
R E Q U E S T N O . 3 0:
           All d o c u m e nts c o n c er ni n g Pl ai ntiffs c o nt e nti o n t h at t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess f u n cti o n t o i n di c at e t h e s o ur c e of g o o ds.


                                                                                 18
          PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 0:
             Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o this R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g t h e for e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts suf fi ci e nt t o s h o w t h at t h e M K Tr a d e Dr ess h as
a c q uir e d s e c o n d ar y m e a ni n g a n d/ or is i n h er e ntl y d isti n cti v e.
R E Q U E S T N O . 3 1:
         All d o c u m e nts c o n c er ni n g a n y a p pli c ati o n b y Pl ai ntiff t o r e gist er t h e M K
C o m m o n L a w T ra d e m ar k or t h e M K Tr a d e D r ess as a tr a d e m ar k i n th e U nit e d
St at es, i n cl u di n g w it h o ut li mit ati o n all c orr es p o n d e n c e wit h t h e U. S. P at e nt a n d
Tr a d e m ar k Of fi c e.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 1:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts to t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: N o n- pri vil e g e d d o c u m e nts t hat
ar e r es p o nsi v e to this R e q u est ar e p u bli cl y a v ail a bl e o n t h e U S P T O w e bsit e,
w w w. us pt o. g o v.
                                                                               19
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E Q U E S T N O. 3 2:
                All d o c u m e nts c o n c er ni n g a n y t hir d p arti es m a n uf a ct uri n g, i m p orti n g,
m ar k eti n g, pr o m oti n g, a d v ertisi n g, distri b uti n g, off eri n g f or s al e or s elli n g
g o o ds i d e nti c al or simil ar t o t h os e s ol d b y Pl ai ntiff usi n g a m ar k or tr a d e dr ess
all e g e dl y si mil ar to th e M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e D r ess
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 2:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
it c alls for th e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t he att or n e y- cli e nt a n d/ or
w or k pr o d u c e pr ivil e g e.
R E Q U E S T N O . 3 3:
         All d o c u m e nts c o n c er ni n g a n y t hir d p arti es m a n uf a ct uri n g, i m p orti n g,
m ar k eti n g, pr o m oti n g, a d v ertisi n g, distri b uti n g, off eri n g f or s al e or s elli n g g o o ds
i d e nti c al or simil ar t o t h os e s ol d b y P l ai ntiff usi n g a m ar k c o nt ai ni n g or c o m prisi n g
t h e i niti als “ M K ”.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 3:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i mp os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
it c alls for th e pr o d u cti o n o f d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or
w or k pr o d u c e pr ivil e g e.


                                                                               20
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E Q U E S T N O. 3 4:
         All d o c u m e nts c o n c er ni n g a n y t hir d p arti es m a n uf a ct uri n g, i m p orti n g,
m ar k eti n g, pr o m oti n g, a d v ertisi n g, distri b uti n g, off eri n g f or s al e or s elli n g g o o ds
i d enti c al or simil ar t o t h os e s ol d b y Pl ai ntiff usi n g a tr a d e dr ess c o nt ai ni n g or
c o m prisi n g a r ep e ati n g i niti al p att er n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 4:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot rel e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o this R e q u est t o t h e e xt e nt
it c alls for th e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or
w or k pr o d u c e pr ivil e g e.
R E Q U E S T N O . 3 5:
         All d o c u m e nts c o n c er ni n g Pl ai ntiff’s c o nt e nti o n t h at t h e M K C o m m o n L a w
Tr a d e m ar k a n d th e M K Tr a d e Dr ess a r e i n h er e ntl y di sti n cti v e or h a v e a c q uir e d
s e c o n d ar y m e a ni n g, i n cl u di n g, wit h o ut li mit ati o n all d o c u m e nts s h o wi n g
Pl ai ntiff’s a d v ertisi n g e x p e n dit ur es f or t h e pr o m oti o n of t h e M K C o m m o n L a w
Tr a d e m ar k a n d t h e M K T r a d e D r ess, a n y c o ns u m er st u di es t yi n g t h e M K C o m m o n
L a w Tr a d e m ar k or t h e M K T r a d e D r ess t o Pl ai ntiff, u ns oli cit e d m e di a c o v er a g e of
t h e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e D r ess, s al es s u c c ess of th e
M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e D r ess, a n d/ or t h e le n gt h of ti m e
Pl ai ntiff h as u s e d th e M K C o m m o n L a w Tr a d e m ar k a n d t h e M K Tr a d e D r ess a n d
t h e e xt e nt to w hi c h s u c h us e h as b e e n e x cl usi v e.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 5:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
                                                                               21
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls for d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts suf fi ci e nt t o s h o w t h at t h e M K Tr a d e Dr ess h as
a c q uir e d s e c o n d ar y m e a ni n g a n d/ or is i n h er e ntl y disti n cti v e.
R E Q U E S T N O . 3 6:
         All d o c u m e nts c o n c er ni n g a n y f u n cti o n alit y or a est h eti c f u n cti o n alit y of t h e
M K Tr a d e D ress.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 6:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d b y t h e att or n e y- cli e nt a n d/ or w o r k
pr o d u ct pri vil e g e.
         W it h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Aft er a dili g e nt s e ar c h a n d a
r e as o n a bl e i n q uir y, Mi c h a el K or s d o es n ot h a v e a n y d o c u m e nts i n its
p oss essi o n, c u st o d y, or c o ntr ol t h at ar e r es p o nsi v e t o t his R e q u est b e c a us e s u c h
d o c u m e nt ati o n d o e s n ot e xist.
R E Q U E S T N O . 3 7:
         All d o c u m e nts c o n c er ni n g a n y cl ai ms m a d e or l a ws uits fil e d b y Pl ai ntiff
a g ai nst a n y thir d p a rti es usi n g a tr a d e m ar k or tr a d e dr ess all e g e dl y si mil ar t o t h e
M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e D r ess.


                                                                               22
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 7:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s c l ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors fur t h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
pr ot e ct e d b y th e att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: A list of t h e r el e v a nt l a ws uits
fil e d b y M i c h a el K ors c a n b e f o u n d o n P A C E R.
R E Q U E S T N O . 3 8:
         All d o c u m e nts c o n c er ni n g a n y i nst a n c es of a ct u al c o nf usi o n b et w e e n t h e
M K C o m m o n L a w Tr a d e m ar k or t h e M K Tr a d e D r ess, o n t h e o n e h a n d, a n d
D ef e n d a nt’s Tr a d e m ar ks or t h e A c c us e d Pr o d u cts, o n t h e ot h er h a n d.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 8:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o this R e q u est t o
t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e.
Mi c h a el K ors fur t h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
pr ot e ct e d b y th e att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Aft er a dili g e nt s e ar c h a n d a
r e as o n a bl e i n q uir y, M ic h a el K ors d o es n ot h a v e a n y d o c u m e nts r es p o nsi v e t o
t his R e q u est in its p oss essi o n, c ust o d y, or c o nt r ol at t his ti m e. Dis c o v er y is
o n g oi n g a n d M ic h a el K ors r es er v es t h e ri g ht t o s u p pl e m e nt a n d/ or a m e n d t his
r es p o ns e as a d di ti o n al i nf or m ati o n b e c o m e s a v ail a bl e.
                                                                               23
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R E Q U E S T N O. 3 9:
         All d o c u m e nts c o n c er ni n g a n y s ur v e ys or m ar k et r es e ar c h u n d ert a k e n b y or
o n b e h alf o f P l ai ntiff c o n c er ni n g ( a) t h e li k eli h o o d o f c o nf usi o n b et w e e n t h e M K
C o m m o n L a w T ra d e m ar k or t h e M K Tr a d e D r ess, o n t h e o n e h a n d, a n d
D ef e n d a nt’s Tr a d e M ar k or t h e A c c us e d Pr o d u cts, o n t h e ot h er h a n d, or ( b) a n y
ot h er iss u es in this a cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 3 9:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts pr ot e ct e d
b y t h e a tt or n e y- cli e nt a n d/ or w o r k pr o d u ct pri vil e g e. Mi c h a el K ors f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it i m p o s es b ur d e ns a n d/ or r ul es b e y o n d
t h os e s et b y th e F e d er al R ul es of Ci vil Pr o c e d ur e, L o c al R ul es, a n d/ or
S c h e d uli n g Or d e r of t his a cti o n. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt it is d u pli c ati v e of R e q u est N os. 2 3 a n d 2 4.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: At t h e a p pr o pri at e ti m e,
Mi c h a el K ors w ill dis cl os e a n y e x p erts a n d e x p erts r e p orts r el at e d t o t his a cti o n.
R E Q U E S T N O . 4 0:
         D o c u m e nts s uffi ci e nt t o i d e ntif y e a c h of t h e c h a n n els of tr a d e t hr o u g h w hi c h
Pl ai ntiff’s g o o ds b e a ri n g or s ol d i n c o n n e cti o n wit h t h e M K C o m m o n L a w
Tr a d e m ar k or t h e M K T r a d e D r ess ar e m ar k et e d a n d s ol d.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 0:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
n ot r el at e d to a n y p art y’s cl ai ms or d ef e ns e s a n d i m p os es a b ur d e n t h at
                                                                               24
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er o bj e cts t o t his R e q u est t o
t h e e xt e nt is o v er br o a d, u n d ul y b ur d e ns o m e, a n d t h er ef or e o p pr essi v e. Mi c h a el
K ors f urt h er o bj e cts t o t his R e q u est as d u pli c ati v e of R e q u est N o. 2 5.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns, a n d t o t h e e xt e nt it
u n d erst a n ds t his R e q u est, Mi c h a el K ors r es p o n ds as f oll o ws: Mi c h a el K or s will
pr o d u c e n o n- p ri vil e g e d d o c u m e nts s uffi ci e nt t o i d e ntif y t h e tr a d e c h a n n els of
t h e M K T r a d e D r ess.
R E Q U E S T N O . 4 1:
         All d o c u m e nts c o n c er ni n g a n y li k eli h o o d of c o nf usi o n b et w e e n t h e M K
C o m m o n L a w T ra d e m ar k or t h e M K Tr a d e D r ess, o n t h e o n e h a n d, a n d
D ef e n d a nt’s Tr a d e M ar k or t h e A c c us e d Pr o d u cts, o n t h e ot h er h a n d.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 1:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y
b ur d e ns o m e, a n d th er ef or e o p pr essi v e. Mi c h a el K ors f urt h er o bj e cts t o this
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol s uffi ci e nt t o
s h o w li k eli h o o d o f c o nf usi o n b et w e e n t h e M K Tr a d e Dr ess a n d t h e d esi g n of
t h e A c c us e d P ro d u cts.
R E Q U E S T N O . 4 2:
         D o c u m e nts s uffi ci e nt t o i d e ntif y e a c h of th e A c c us e d Pr o d u cts all e g e d t o
i nfri n g e t h e M K C o m m o n L a w Tr a d e m ar k a n d th e M K Tr a d e Dr ess.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 2:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or d o c u m e nts
alr e a d y i n th e p os s essi o n, c ust o d y, or c o ntr ol o f D ef e n d a nt.
                                                                               25
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o n, a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: T o t h e e xt e nt it h as n ot alr e a d y
d o n e s o, M i c h a el K ors will pr o d u c e n o n- pri vil e g e d d o c u m e nts i n its p oss essi o n,
c ust o d y, or c o ntr ol t h at ar e r es p o nsi v e t o t his R e q u est.
R E Q U E S T N O . 4 3:
         All d o c u m e nts c o n c er ni n g Pl ai ntiff’s all e g e d m o n et ar y d a m a g es d u e t o
i nfri n g e m e nt of th e M K C o m m o n L a w Tr a d e m ar k a n d th e M K Tr a d e Dr ess
all e g e d i n th e a cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 3:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt is o v er br o a d, u n d ul y
b ur d e ns o m e, a n d th er ef or e o p pr essi v e. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
suffi ci e nt t o pr o v e its cl ai ms f or d a m a g es.
R E Q U E S T N O . 4 4:
         All d o c u m e nts c o n c er ni n g a n y irr e p ar a bl e i nj ur y all e g e dl y s uff er e d b y
Pl ai ntiff all e g e d in th e a cti o n.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 4:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt is o v er br o a d, u n d ul y
b ur d e ns o m e, a n d th er ef or e o p pr essi v e. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
                                                                               26
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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n o n- pri vil e g e d d o c u m e nts i n its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
s uffi ci e nt t o pr o v e t h e i nj ur y it h as s uff er e d as a r es ult of D ef e n d a nt’s infri n gi n g
a cti viti es.
R E Q U E S T N O . 4 5:
         All d o c u m e nts c o n c er ni n g d a m a g es s uff er e d b y Pl ai ntiff as a r es ult of
tr a d e m ar k a n d tra d e dr ess i nfri n g e m e nt b y D ef e n d a nt, as all e g e d i n t h e C o m pl ai nt,
i n cl u di n g, wi th o ut li mit ati o n, d o c u m e nts s uffi ci e nt t o s u p p ort th e c al c ul ati o n of
s u c h d a m a g es.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 5:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt is o v er br o a d, u n d ul y
b ur d e ns o m e, a n d th er ef or e o p pr essi v e. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
         Wit h o ut w ai vi n g th e f or e g oi n g o bj e cti o ns a n d t o t h e e xt e nt it u n d erst a n ds
t his R e q u est, M ic h a el K ors r es p o n ds as f oll o ws: Mi c h a el K ors will pr o d u c e
n o n- pri vil e g e d d o c u m e nts in its p oss essi o n, c ust o d y, or c o ntr ol t h at ar e
s uffi ci e nt t o pr o v e its cl ai ms f or d a m a g es.
R E Q U E S T N O . 4 6:
         All d o c u m e nts n ot s p e cifi c all y r e q u est e d h er ei n c o n c er ni n g c o m m u ni c ati o ns
c o n c er ni n g t his la ws uit or t h e cl ai ms m a d e i n t his C o m pl ai nt.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 6:
         Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K o rs f urt h er
o bj e cts t o this R e q u est t o t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
t h at, as w or d e d, it is v a g u e a n d a m bi g u o us. Mi c h a el K ors f urt h er o bj e cts t o t his
                                                                               27
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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R e q u est t o t h e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.
R E Q U E S T N O . 4 7:
            All d o c u m e nts n ot s p e cifi c all y r e q u est e d h er ei n c o n c er ni n g t h e f a ct u al
all e g ati o ns.
R E S P O N S E T O R E Q U E S T F O R P R O D U C TI O N N O. 4 7:
            Mi c h a el K ors o bj e cts t o t his R e q u est t o t h e e xt e nt it c alls f or t h e
pr o d u cti o n of d o c u m e nts n ot r el e v a nt t o a n y p art y’s cl ai ms or d ef e ns es a n d
i m p os es a b ur d e n th at o ut w ei g hs t h e n e e ds of t his c as e. Mi c h a el K ors f urt h er
o bj e cts t o t his R e q u est to t h e e xt e nt it is o v er br o a d, u n d ul y b ur d e ns o m e, a n d
t h er ef or e o p pr essi v e. M ic h a el K ors f urt h er o bj e cts t o t his R e q u est t o t h e e xt e nt
t h at, as w or d e d, it is v a g u e a n d a m bi g u o us. Mi c h a el K ors f urt h er o bj e cts t o t his
R e q u est t o th e e xt e nt it c alls f or t h e pr o d u cti o n of d o c u m e nts pr ot e ct e d b y t h e
att or n e y- cli e nt a n d/ or w or k pr o d u ct pri vil e g e.




D at e d:               A u g ust 3 0, 2 0 1 8                            B LA KEL Y LA W G R O UP


                                                                          ____________________________________
                                                                          Br e nt H. Bl a k el y ( B B 1 9 6 6)
                                                                          1 3 3 4 P ar k vi e w A v e n u e, S uit e 2 8 0
                                                                          M a n h att a n B e a c h, C alif or ni a 9 0 2 6 6
                                                                          T el e p h o n e: (3 1 0) 5 4 6- 7 4 0 0
                                                                          F a csi mil e: ( 3 1 0) 5 4 6 -7 4 0 1
                                                                          Att or n e ys f or P lai ntiffs
                                                                          Mi c h a el K ors, L .L. C.




                                                                               28
        PL   AI N TI F F ’ S   R   ESP O NS ES T O   D   EFE N D ANT   SU Y   AN Y E ’S F I   RST   SE   T OF   R   E Q U ESTS F O R   PR   O D U C TI O N
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                                                        P R O O F O F S E R VI C E

           I a m e m pl o y e d in t h e c o u nt y af or es ai d; I a m o v er t h e a g e of 1 8 y e ars a n d n ot a p art y t o t h e
wit hi n a cti o n; m y b u si n ess a d dr ess is 1 3 3 4 P ar k vi e w A v e n u e, S uit e 2 8 0, M a n h att a n B e a c h,
C alif or ni a 9 0 2 6 6. O n A u g ust 3 0, 2 0 1 8 , I s er v e d t h e d o c u m e nt s n a m e d b el o w o n t h e p arti e s i n t his
a cti o n as f oll o w s:

 D o c u m e nt(s)                 P L AI N TI F F ’S R E S P O N S E S T O D E F E N D A N T S U Y A N Y E ’S FI R S T
 S e r v e d:                      S E T O F R E Q U E S T S F O R P R O D U C TI O N O F D O C U M E N T S

 S e r v e d U p o n:              Er i c J. S hi m a n off
                                   ejs @ cll. c o m
                                   S ar a J. H er c h e nr o d er
                                   sj h @ cll. c o m
                                   C O W A N, LI E B O WI T Z & L A T M A N, P. C.
                                   1 1 4 W est 4 7 t h Str e et Fl 2 1
                                   N e w Y or k, N Y 1 0 0 3 6
                                   Att or n e ys f or D e f e n d a nt S u Y a n Y e

[ X]      (B Y M AI L) I pl a c e d s u c h e n v el o p e o n t h e a b o v e d at e, wit h p o st a g e f ull y pr e p ai d, f or d e p o sit
          i n t h e U. S. P o st al S er vi c e at m y pl a c e of b usi n e ss at M a n h att a n B e a c h, C alif or ni a, f oll owi n g
          t h e or di n ar y b u si n ess pr a cti c es of m y pl a c e of b u si n e ss. I a m r e a dil y f a mili ar wit h t h e
          b usi n e ss pr a cti c e at m y pl a c e of b usi n e ss f or c oll e cti o n a n d pr o c essi n g of c orr es p o n d e n c e f or
          m ail wit h t h e U . S. P o st al S er vi c e. U n d er t h at pr a cti c e, s u c h c orr es p o n d e n c e is d e p o sit e d wit h
          t h e U. S. P o st al S er vi c e t h e s a m e d a y it is c oll e ct e d a n d pr o c ess e d i n t h e or di n ar y c o urs e of
          b usi n e ss.

[]        ( B Y F E D E R A L E X P R E S S) I a m r e a dil y fa mili ar wit h t h e b u si n ess pr a cti c e s at m y pl a c e of
          b usi n e ss f or c o ll e cti o n a n d pr o c essi n g of c orr es p o n d e n c e for o v er ni g ht d eli v er y a n d k n o w t h at
          t h e d o c u m e nt(s) d es cri b e d h er ei n will b e d e p o sit e d i n a b o x or ot h er f a cilit y r e g ul arl y
          m ai nt ai n e d b y F e d e r al E x pr ess f or o v er ni g ht d eli v er y.

[ X]      (B Y E- M AI L ) I c a us e d a c o p y of t h e d o c u m e nt(s) d es cri b e d h er ei n t o b e t o b e tr a ns mitt e d
          vi a el e ctr o ni c m a il t o t h e r e ci pi e nt s list e d a b o v e t o at t h e list e d el e ctr o ni c m ail a d dr ess( es).

[]        ( B Y P E R S O N A L S E R VI C E) I s er v e d t h e for e g oi n g d o c u m e nt b y pl a ci n g tr u e c o pi es
          t h er e of e n cl o s e d i n se al e d e n v el o p e(s) a d dr ess e d a s st at e d b el o w. I c a us e d s u c h e n v el o p e(s)
          t o b e d eli v er e d b y h a n d t o t h e offi c e(s) of t h e a d dr ess e e( s).

[ X]      ( F E D E R A L) I d e cl ar e u n d er p e n alt y of p erj ur y t h at t h e f or e g oi n g is tr u e a n d c orr e ct.

          E x e c ut e d o n A u g u st 3 0, 2 0 1 8, at M a n h att a n B e a c h, C alif or ni a.



                                                                                               ________________________
                                                                                               M o ni c a L a w al




                                                              P   R O OF OF   S   E R VI C E
